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 6
                              UNITED STATES DISTRICT COURT
 7
                                   DISTRICT OF NEVADA
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 9   ROBERT M. ROSS,
                                                               Case No.: 2:14-CV-00310-RCJ-VCF
10                          Plaintiff,
11            vs.                                                              ORDER
12   STEPHEN BROWN, et al.,
13                          Defendants.
14
15            On April 6, 2015 a Notice of Intent to Dismiss for Want of Prosecution Pursuant to
16   Local Rule 41-1 (ECF #17) was entered with the Court. The Notice advised that if no action
17   is taken in this case by May 6, 2015, the Court will dismiss this action for want of prosecution.
18   Plaintiff has not complied within the allotted time period.
19            “Before dismissing the action, the district court is required to weigh several factors: (1)
20   the public’s interest in expeditious resolution of litigation; (2) the court’s need to manage its
21   docket; (3) the risk of prejudice to the defendants; (4) the public policy favoring disposition of
22   cases on their merits; and (5) the availability of less drastic sanctions.” Ghazali v. Moran, 46
23   F.3d 52, 53 (9th Cir. 1995) (internal citations and quotations omitted). All five factors point in
24   favor of dismissal.
25            Plaintiff has failed to show good cause why this action should not be dismissed without
26   prejudice for want of prosecution pursuant to Local Rule 41-1.
27   ///
28   ///
       Case 2:14-cv-00310-RCJ-VCF Document 20 Filed 06/03/15 Page 2 of 2




 1          IT THEREFORE ORDERED that this action is DISMISSED with prejudice for Plaintiff’s
 2   failure to comply with the Notice of Intent to Dismiss (ECF #17). The Clerk of the Court shall
 3   enter judgment accordingly and close the case.
 4          IT IS SO ORDERED.
 5          DATED this 3rd day of June, 2015.
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 7                                             ROBERT C. JONES
                                               United States District Judge
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